    Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 1 of 32




1USPS: “Restricted Delivery permits the mailer to direct delivery only to the
addressee or the addressee's authorized agent.”
https://faq.usps.com/s/article/What-is-Restricted-Delivery
                                                                    Exhibit 1 For 1:22-cv-01001
                                                                          Pg. 1/6 Date:8/24/22
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 2 of 32




                                                          Exhibit 1 For 1:22-cv-01001
                                                               Pg. 2/6 Date:8/24/22
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2 No results found by searching site:usps.com "awaiting delivery scan" on
Google.com.
3 https://www.usps.com/help/missing-mail.htm
4 Contents: a Court-issued summons for the recipient, a conforming Rule

4(d) Notice and Request with required attachments, ECF 1 (Complaint); ECF
7 (Corrected Amended Complaint); and ECF 9 (Motion to Extend Service of
Summons).
5 https://sdat.dat.maryland.gov/RealProperty/Pages/default.aspx
6 Id.

                                                                 Exhibit 1 For 1:22-cv-01001
                                                                       Pg. 3/6 Date:8/24/22
      Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 4 of 32




7   https://www.american.edu/sis/phd/current-students.cfm
8

https://web.archive.org/web/20220824043653/https://www.american.edu
/sis/faculty/mr2976a.cfm
9 https://www.linkedin.com/in/manaswini-ramkumar-b75971135/
10

https://web.archive.org/web/20220824043711/https://www.american.edu/
uploads/docs/ramkumarmanaswinicv2020.pdf
                                                                Exhibit 1 For 1:22-cv-01001
                                                                     Pg. 4/6 Date:8/24/22
       Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 5 of 32




11   https://www.facebook.com/profile.php?id=59203825
                                                                 Exhibit 1 For 1:22-cv-01001
                                                                       Pg. 5/6 Date:8/24/22
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 6 of 32




                                                          Exhibit 1 For 1:22-cv-01001
                                                               Pg. 6/6 Date:8/24/22
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                                                                  Exhibit 2 For 1:22-cv-01001
                                                                       Pg. 1/11 Date:8/23/22
                                                   Plaintiff Comment / Redaction in Orange
                                             Material Irrelevant to Main Document Excluded
                                                      See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 9 of 32




                                                                  Exhibit 2 For 1:22-cv-01001
                                                                       Pg. 2/11 Date:8/23/22
                                                   Plaintiff Comment / Redaction in Orange
                                             Material Irrelevant to Main Document Excluded
                                                      See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 10 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
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                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 11 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
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                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
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Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 12 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
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                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
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Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 13 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                        Pg. 6/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 14 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                        Pg. 7/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 15 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                        Pg. 8/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 16 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                        Pg. 9/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
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Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 17 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                       Pg. 10/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 18 of 32




                                                                   Exhibit 2 For 1:22-cv-01001
                                                                       Pg. 11/11 Date:8/23/22
                                                    Plaintiff Comment / Redaction in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 19 of 32




                                                                   Exhibit 3 For 1:22-cv-01001
                                                                         Pg. 1/4 Date:8/23/22
                                                                 Plaintiff Comment in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 20 of 32




                                                                 Exhibit 3 For 1:22-cv-01001
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                                            Material Irrelevant to Main Document Excluded
                                                     See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 21 of 32




                                                                   Exhibit 3 For 1:22-cv-01001
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                                                                 Plaintiff Comment in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
Case 1:22-cv-01001-CKK Document 11 Filed 08/24/22 Page 22 of 32




                                                                   Exhibit 3 For 1:22-cv-01001
                                                                         Pg. 4/4 Date:8/23/22
                                                                 Plaintiff Comment in Orange
                                              Material Irrelevant to Main Document Excluded
                                                       See Judge CKK Procedure 10(D). ECF 5.
8/23/22, 11:33 PM       Case 1:22-cv-01001-CKK Document  11 - USPS
                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 23 of 32



   USPS Tracking
                                    ®                                                                                                      FAQs   




                                                        Track Another Package




                                                                                                                                         Remove   
   Tracking Number: 70211970000214860178

   The delivery status of your item has not been updated as of August 20, 2022, 2:20 am. We apologize that it may arrive later
   than expected.

   USPS Tracking Plus® Available         




   Awaiting Delivery Scan
   August 20, 2022 at 2:20 am


   Get Updates      




                                                                                                                                                  Feedback
                                                                                                                                            
      Text & Email Updates


                                                                                                                                            
      Return Receipt Electronic


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      Tracking History



      Awaiting Delivery Scan
      The delivery status of your item has not been updated as of August 20, 2022, 2:20 am. We apologize that it may arrive later than
      expected.




      Out for Delivery
      SILVER SPRING, MD 20910




      Arrived at Post Office
      SILVER SPRING, MD 20910




      Arrived at USPS Facility
      SILVER SPRING, MD 20904
                                                                                                                       Exhibit 5 For 1:22-cv-01001
                                                                                                                             Pg. 1/4 Date:8/23/22
                                                                                                                     Plaintiff Comment in Orange
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https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=4&text28777=&tLabels=70211970000214860178%2C70211970000214860116%2C…                    1/4
8/23/22, 11:33 PM       Case 1:22-cv-01001-CKK Document  11 - USPS
                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 24 of 32


      Departed USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Arrived at USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Departed USPS Regional Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      Arrived at USPS Regional Destination Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      In Transit to Next Facility




                                                                                                                                         Feedback
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      USPS Tracking Plus®


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      Product Information



      Postal Product:                              Features:
      Priority Mail®                               Certified Mail Restricted Delivery
                                                   Return Receipt Electronic
                                                   Up to $100 insurance included. Restrictions Apply 




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   Tracking Number: 70211970000214860116                                                                              Pg. 2/4 Date:8/23/22
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   The delivery status of your item has not been updated as of August 20, 2022, 2:32      am. We apologize     thatProcedure
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                                                  USPS.com® - USPS Tracking® Results

   than expected.


   USPS Tracking Plus® Available         




   Awaiting Delivery Scan
   August 20, 2022 at 2:32 am



   Get Updates      




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      Text & Email Updates


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      Return Receipt Electronic


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      Tracking History



      Awaiting Delivery Scan
      The delivery status of your item has not been updated as of August 20, 2022, 2:32 am. We apologize that it may arrive later than
      expected.




                                                                                                                                               Feedback
      Out for Delivery
      SILVER SPRING, MD 20910




      Arrived at Post Office
      SILVER SPRING, MD 20910




      Arrived at USPS Facility
      SILVER SPRING, MD 20904




      Departed USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Arrived at USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Departed USPS Regional Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER
                                                                                                                       Exhibit 5 For 1:22-cv-01001
                                                                                                                             Pg. 3/4 Date:8/23/22
                                                                                                                     Plaintiff Comment in Orange
                                                                                                  Material Irrelevant to Main Document Excluded
      Arrived at USPS Regional Destination Facility                                                        See Judge CKK Procedure 10(D). ECF 5.
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                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 26 of 32

      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      In Transit to Next Facility




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      USPS Tracking Plus®


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      Product Information



      Postal Product:                               Features:




                                                                                                                                          Feedback
      Priority Mail®                                Certified Mail Restricted Delivery
                                                    Return Receipt Electronic
                                                    Up to $100 insurance included. Restrictions Apply 




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                                         Can’t find what you’re looking for?
                                    Go to our FAQs section to find answers to your tracking questions.


                                                                  FAQs




                                                                                                                  Exhibit 5 For 1:22-cv-01001
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                                                                                             Material Irrelevant to Main Document Excluded
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                                                                   Tracking® Results Page 27 of 32



   USPS Tracking
                                   ®                                                                                                 FAQs   




                                                      Track Another Package




                                                                                                                                  Remove    
   Tracking Number: 70212720000323938045

   Your item was delivered to an individual at the address at 4:50 pm on July 15, 2022 in SILVER SPRING, MD 20910.

   USPS Tracking Plus® Available        




    Delivered, Left with Individual
   July 15, 2022 at 4:50 pm
   SILVER SPRING, MD 20910


   Get Updates      




                                                                                                                                            Feedback
                                                                                                                                       
      Text & Email Updates


                                                                                                                                       
      Tracking History



      Delivered, Left with Individual
      SILVER SPRING, MD 20910
      Your item was delivered to an individual at the address at 4:50 pm on July 15, 2022 in SILVER SPRING, MD 20910.




      Out for Delivery
      SILVER SPRING, MD 20910




      Arrived at Post Office
      SILVER SPRING, MD 20910




      Arrived at USPS Facility
      SILVER SPRING, MD 20904



                                                                                                                    Exhibit 5 For 1:22-cv-01001
      Departed USPS Regional Facility                                                                                     Pg. 1/4 Date:8/23/22
      GAITHERSBURG MD DISTRIBUTION CENTER                                                                         Plaintiff Comment in Orange
                                                                                               Material Irrelevant to Main Document Excluded
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https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=3&text28777=&tLabels=70212720000323938045%2C70212720000323938113%2C               1/4
8/23/22, 11:34 PM       Case 1:22-cv-01001-CKK Document  11 - USPS
                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 28 of 32


      Arrived at USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Departed USPS Regional Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      Arrived at USPS Regional Destination Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      In Transit to Next Facility




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      USPS Tracking Plus®


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      Product Information



      Postal Product:                              Features:
      Priority Mail®                               Certified Mail™
                                                   Up to $100 insurance included. Restrictions Apply 




                                                              See Less   




                                                                                                                               Remove    
   Tracking Number: 70212720000323938113

   Your item was delivered to an individual at the address at 4:58 pm on July 16, 2022 in SILVER SPRING, MD 20910.

   USPS Tracking Plus® Available      
                                                                                                                 Exhibit 5 For 1:22-cv-01001
                                                                                                                       Pg. 2/4 Date:8/23/22
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    Delivered, Left with Individual                                                        Material Irrelevant to Main Document Excluded
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8/23/22, 11:34 PM       Case 1:22-cv-01001-CKK Document  11 - USPS
                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 29 of 32

   July 16, 2022 at 4:58 pm
   SILVER SPRING, MD 20910


   Get Updates      




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      Text & Email Updates


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      Tracking History



      Delivered, Left with Individual
      SILVER SPRING, MD 20910
      Your item was delivered to an individual at the address at 4:58 pm on July 16, 2022 in SILVER SPRING, MD 20910.




      Out for Delivery
      SILVER SPRING, MD 20910




      Arrived at Post Office
      SILVER SPRING, MD 20910




                                                                                                                                            Feedback
      Arrived at USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Departed USPS Facility
      SILVER SPRING, MD 20904




      Arrived at USPS Facility
      SILVER SPRING, MD 20904




      Departed USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Arrived at USPS Regional Facility
      GAITHERSBURG MD DISTRIBUTION CENTER




      Departed USPS Regional Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER
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                                                  USPS.com®    Filed  08/24/22
                                                                   Tracking® Results Page 30 of 32


      Arrived at USPS Regional Destination Facility
      WASHINGTON DC NETWORK DISTRIBUTION CENTER




      In Transit to Next Facility




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      USPS Tracking Plus®


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      Product Information




                                                                                                                                          Feedback
      Postal Product:                               Features:
      Priority Mail®                                Certified Mail™
                                                    Up to $100 insurance included. Restrictions Apply 




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                                         Can’t find what you’re looking for?
                                    Go to our FAQs section to find answers to your tracking questions.


                                                                  FAQs




                                                                                                                  Exhibit 5 For 1:22-cv-01001
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                                                                 Exhibit 6 For 1:22-cv-01001
                                                                         Pg. 1/2 Date:8/23/22
                                                                Plaintiff Comment in Orange
                                             Material Irrelevant to Main Document Excluded
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                                                                 Exhibit 6 For 1:22-cv-01001
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                                                                Plaintiff Comment in Orange
                                             Material Irrelevant to Main Document Excluded
                                                      See Judge CKK Procedure 10(D). ECF 5.
